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                      Defendant’s Motion to Seal


                          Exhibit 1
                 Non-Confidential Descriptive Index
             (Local Criminal Rule 49.01(B)(2)(a) (D.S.C.))
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 BEAUFORT DIVISION

 United States of America,                              Case No. 9:22-cr-00658-RMG

            v.

 Russell Lucius Laffitte,

                       Defendant.


       In accordance with Local Crim. R. 49.01(B)(2)(a) (D.S.C.) and the Standing Order

Regarding Sealing Documents in Criminal Matters, ECF No. 1, No. 3:14-mc-00333-TLW (Oct.

28, 2014), the following non-confidential descriptive index is filed contemporaneously with the

Motion to Seal filed by Mr. Laffitte:



 Exhibit Document                         Description

 A         Affidavit of Juror No. 88      An affidavit signed by Juror No. 88 describing improper
                                          influences on jury deliberations, her experience as a
                                          juror, and the circumstances surrounding her removal.
 B         Affidavit of Juror No. 93      An affidavit signed by Juror No. 93 describing improper
                                          influences on jury deliberations, her experience as a
                                          juror, and the circumstances surrounding her removal.




                                        [Signature on Next Page]
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